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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

  JOE ANDREW SALAZAR,

                 Plaintiff,
                                                      Civil ActionNo. 2:16-cv-01096-JRG-RSP
         v.



  ETC CORPORATION,

                 Defendant.




                                        VERDICT FORM


 In answering the following questions and filling out this Verdict Form, you are to follow all of the
 instructions I have given you in the Court's charge. Your answer to each question must be
 unanimous. Some of the questions contain legal terms that are defined and explained in detail in
 the Jury Instructions. Please refer to the Jury Instructions if you are unsure about the meaning or
 usage of any legal term that appears in the questions below.




 In this verdict form:



         Mr. Salazar refers to Plaintiff Joe Andrew Salazar.

         ETC Corpo ation refers to Defendant ETC Corporation.

        The 467 Patent refers to U.S. Patent No. 5,802,467.

        The “Asserted Claims” refer to Claims 1-7, 27-30, and 34 of the ’467 Patent.

        The “Accused Products” refer to the ETC One M7, ETC One M8, and ETC One M9.




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  QUESTION #1:

         Did Mr. Salazar prove by a preponderance of the evidence that HTC Cor oration infringed

  ANY of the Asserted Claims through the use, sale, or offer fo sale in the United States, or

  importation into the United States, of any of the following Accused Products?

         Answer Yes or No” for each Accused Product listed below:

                        HTC One M7
                        HTC One M8
                        HTC One M9




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  QUESTION #2:

         Did HTC Corporation prove by clear and convincing evidence that any of the following

  Asserted Claims are invalid?

         Answer Yes or “No for each Asserted Claim listed below:


         467 Patent
                       Claim 1
                       Claim 2

                       Claim 3
                       Claim 4
                       Claim 5
                       Claim 6
                       Claim 7
                       Claim 27
                       Claim 28
                       Claim 29
                       Claim 30
                       Claim 34




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  FOLLOW THIS INSTRUCTION:

          If you have answered NO to ALL Accused Products in Question #1, answer no further

  questions, proceed to the last page, have your Foreperson sign and date this verdict form, and then

  deliver it to the Court Security Officer.

          If you have answered YES to ALL Asserted Claims in Question #2, answer no further

  questions, proceed to the last page, have your Foreperson sign and date this verdict form, and then

  deliver it to the Court Security Officer.

          If you have answered YES as to ANY Accused Product in Question #1, PROCEED TO

  ANSWER THIS QUESTION as to ONLY any Asserted Claim of the 467 patent that you have

  found both to be infringed by HTC Corporation and for which you have found that Asserted Claim

  is not invalid.




  QUESTION #3:

          What sum of money, if any, if paid now in cash, do you find by a preponderance of the

  evidence would fairly and reasonably compensate Mr. Salazar for any infringement by HTC

  Corporation as to each Accused Product? Only award damages for those Asserted Claims that you

  have found to be both infringed and not invalid as to each Accused Product.




                         Answer in Dollars and Cents, if any:



                         HTC One M7 $
                         HTC One M8 $
                         HTC One M9 $



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  QUESTION #4:

         Did Mr. Salazar prove by a reponderance of the evidence that the owners of

  Patent satisfied the requirements of the marking statute (35 U.S.C. § 287)?

         Answer Yes or “No :




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                                END OF JURY VERDICT FORM



  You have now reached the end of the verdict f01m and should review it to ensure it accurately
  reflects your unanimous dete1minations. After you are satisfied that your unanimous answers are
  c01Tectly reflected above, then the Jury Foreperson should then sign and date this verdict f01m in
  the spaces below. Then, notify the Court Security Officer that you have reached a verdict.



                 Signed this� day of�d\&\�"'-"-",___
                                                  _ _ _, 2018.




                 Jury Foreperson
                                                            O




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